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                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                              SOUTHERN DIVISION

GARY BRICE MCBAY                                                                   PLAINTIFF

V.                                               CIVIL ACTION NO: 1:07cv1205-LG-RHW

HARRISON COUNTY, MISSISSIPPI, ET AL.                                           DEFENDANTS

                   PLAINTIFF’S RESPONSE IN OPPOSITION TO
                DEFENDANT’S MOTION FOR SUMMARY JUDGMENT

       The Plaintiff, Gary Brice McBay (“McBay”), by and through his undersigned counsel,

submits this Response in Opposition to Defendant George Payne‟s (“Defendant”) Motion for

Summary Judgment and would show unto the Court, the following:

       In the case at bar, there exist numerous genuine issues of material fact which preclude

summary judgment. First, Defendant Morgan Thompson‟s beating of Plaintiff is a genuine issue

of material fact due to the conflicting accounts provided by Plaintiff, Defendant Thompson, the

video evidence (absence of video evidence), Regina Rhodes, and the reports filed with respect to

the incident. Second, the injuries sustained by the Plaintiff are genuine issues of material fact

due to the physical evidence, booking photos, nurses notes, and various accounts of the injuries

sustained. Third, the knowledge of Sheriff George Payne and the Harrison County Board of

Supervisors with respect to the widespread abuse of inmates at the Harrison County Adult

Detention Center (“HCADC”) and the adoption of an “official policy” is a genuine issue of

material fact due to the admissions in the numerous plea agreements by various correctional

officers, Steve Martin‟s report submitted to the Sheriff and Board of Supervisors, deposition

testimony of George Payne, deposition testimony of William Martin, deposition testimony of

Bobby Eleuterius, deposition testimony of Regina Rhodes, sworn testimony of various other
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individuals, and this Court‟s finding of a genuine issue of material fact with respect to an

“official policy” at HCADC in Alves v. Harrison County, et al., Civil Action No. 1:06-cv-912-

LG-RHW (S.D. Miss. Feb. 23, 2009). Finally, the custom and practice of abuse being a moving

force behind the assault on Plaintiff is a genuine issue of material fact due to the admissions in

the numerous plea agreements by various correctional officers, Steve Martin‟s report submitted

to the Sheriff and Board of Supervisors, deposition testimony of George Payne, deposition

testimony of William Martin, deposition testimony of Bobby Eleuterius, deposition testimony of

Regina Rhodes, sworn testimony of various other individuals, and this Court‟s finding of a

genuine issue of material fact with respect to a moving force in Alves.

        Accordingly, Defendant‟s Motion for Summary Judgment should be denied due to

numerous genuine issues of material fact.

I.      Summary Judgment Standard

        “Summary judgment is proper when there exists no genuine issue of material fact and the

movant is entitled to judgment as matter of law.” Strong v. Univ. HealthCare Sys., L.L.C., 482

F.3d 802, 805 (5th Cir. 2007). “The evidence and inferences from the summary judgment record

are viewed in the light most favorable to the nonmovant.” Minter v. Great Am. Ins. Co. of N.Y.,

423 F.3d 460, 465 (5th Cir. 2005). To survive a summary judgment motion, the nonmovant

“need only present evidence from which a jury might return a verdict in his favor,” Anderson v.

Liberty Lobby, Inc., 477 U.S. 242, 257, 106 S.Ct. 2505, 91 L.Ed.2d 202 (1986).

II.     Beating of the Plaintiff at the Harrison County Adult Detention Center

        A.     Applicable Law

        The appropriate analysis of excessive force claims by pre-trial detainees is “whether force

was applied in a good faith effort to maintain or restore discipline, or maliciously and sadistically


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for the very purpose of causing harm.” Valencia v. Wiggins, 981 F.2d 1440, 1446 (5th Cir.

1993). Often, there is no evidence of the correctional officer‟s subjective intent, ad the trier of

fact must base its determination on objective factors suggestive of intent. Id. at 1446. The Fifth

Circuit suggests the following factors: (1) extent of the injury suffered; (2) need for the

application of force; (3) relationship between the need and the amount of force used; (4) the

threat reasonably perceived by the responsible officials; and (5) any efforts made to temper the

severity of the forceful response. Id. at 1447. An officer‟s malice can be evident from the very

excessiveness of his conduct. Id.

       B.      Facts

       Plaintiff was brought to the HCADC on the night of November 6, 2005 on suspicion of

public drunk – these charges were later dropped and Plaintiff was never convicted of any crime.

While Plaintiff was waiting to be processed through booking, Plaintiff‟s legs were swept out

from under him by Defendant Morgan Thompson. See Exhibit “A”, booking video; See Exhibit

“B”, Regina Rhodes deposition, pp. 28-29, Lines 19-5. Plaintiff was taken to the floor and left

lying on the floor for a few minutes. Evidence of this takedown is also the subject of Plaintiff‟s

pending Motion for Sanctions for Spoliation.

       Then, Plaintiff was escorted to the entrance of the shower room. See Exhibit “C”, excerpt

of booking video. Plaintiff‟s handcuffs were removed by Defendant Morgan Thompson. Id.

After removing Plaintiff‟s handcuffs, Defendant Thompson violently shoved Plaintiff to the

ground before he entered the shower room. Id.; Exhibit “B”, pp. 34-35, Lines 11-7. Plaintiff did

nothing to provoke such a takedown.

       Next, Plaintiff entered the shower room followed closely by two correctional officers –

Morgan Thompson and Kenneth Windham. Once in the shower, Thompson began striking the


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Plaintiff in the face multiple times with a closed fist. See Exhibit “D”, Thompson deposition, p.

15, Lines 12-13; p. 54, Lines 23-25. The shower room does not have video cameras. While

continuing to strike the 5 foot 8 inch, 125 lb. Plaintiff, the 6 foot 3 inch 200+lb Thompson drove

Plaintiff‟s head into the shower grate causing a “stamp” on the side of Plaintiff‟s head. See

Exhibit “E”, photo; Exhibit “B”, p. 44, Lines 1-13; p. 148, Lines 4-7. While being beaten by

Thompson, Plaintiff pleaded, “please, no more.” See Exhibit “F”, Plaintiff‟s deposition, p. 30,

Line 20.

       After the beating, the Plaintiff was in and out of consciousness in the shower room, and

the nurse was called to attend to him. The Plaintiff was beaten so badly that he laid in the shower

room for approximately twenty minutes while other officers and onlookers checked the shower

room door to see what happened.       See Exhibit “A”, video. Once Plaintiff exited the shower

room, there was so much blood in the shower room that a trustee took approximately three

minutes to mop up the shower room floor. Id.

       Following the Plaintiff‟s beating, Defendant Thompson was teased by other officers. The

other officers teased Thompson because he hit Plaintiff so many times in the face, and because

these strikes violated the red light/green light policy of the officers regarding where they should

strike inmates. See Exhibit “D”, Thompson deposition, p. 44-45, Lines 13-9. Thompson stated

that “McBay was a big reason” for the teasing, and Thomson further admitted that “I gave him

[McBay] a black eye.” Id. at p. 44, Lines 15-16, 20. Thompson further admitted to Regina

Rhodes that Thompson drove the Plaintiff‟s skull into the shower grate creating an “X” on

Plaintiff‟s head. See Exhibit “B”, p. 148, Lines 4-7.

       C.      Genuine Issues of Material Fact

       There are significant genuine issues of material fact with respect to Thompson beating the


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Plaintiff. First, Thompson testified that did not have any type of physical altercation with the

Plaintiff until they entered the shower. See Exhibit “D”, Thompson Deposition, p. 51-52, Lines

25-2. Thompson denied ever striking or pushing Plaintiff to the ground before entering the

shower. However, while Plaintiff was waiting to be processed through booking, Plaintiff‟s legs

were swept out from under him by Defendant Morgan Thompson. See Exhibit “A”; Exhibit “B”,

pp. 28-29, Lines 19-5. Plaintiff was taken to the floor and left lying on the floor for a few

minutes. Then, Plaintiff was escorted to the entrance of the shower room. See Exhibit “C”.

Plaintiff‟s handcuffs were removed by Defendant Morgan Thompson. Id. Next, Defendant

Thompson violently shoved Plaintiff to the ground before they entered the shower room.         Id.;

Exhibit “B”, p. 34-35, Lines 11-7. Plaintiff did nothing to provoke such a takedown.

       It is clear that Thompson shoved, pushed, and/or physically caused Plaintiff to go to the

ground before entering the shower. For Thompson and Defendants to maintain otherwise is

patently false. Nevertheless, there are genuine issues of material fact with respect to Defendants

and Thompson‟s versions of events.

       Next, the use of force report submitted in this matter states that Plaintiff “grabbed Deputy

Thompson‟s shirt and punched him in the head.” See Exhibit “G”, Use of Force report. In the

narrative form of the report, it states that when Plaintiff and Thompson entered the shower,

Thompson asked Plaintiff to remove his clothes. Id. In response, the report alleges that Plaintiff

took an aggressive stance towards Thompson, causing Thompson to move toward McBay to

employ a soft empty hand control. Id. Plaintiff then allegedly grabbed Thompson by the shirt

and allegedly struck Thompson twice in the head. Id.

       According to Thompson and Defendant‟s Motion for Summary Judgment, this is not how

the incident happened.     The Defendant and Thompson maintain that once Plaintiff and


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Thompson entered the shower, Thompson reached out of the door for some clothes and Plaintiff

punched Thompson in the head. See Exhibit “D”, p. 47-48, Lines 16-3; Docket No. 301, p. 5.

Thompson and Defendant both allege that Plaintiff struck Thompson again in the head. Id.

       However, the grainy booking video shows another version of events. While there are no

cameras in the shower room, there is a camera pointed at the shower room door. This camera

angle shows Thompson entering the shower directly behind Plaintiff, and Deputy Windham right

behind. This video angle also shows that Thompson never reached outside the door to grab

clothes, and moreover, the video does not show any clothes on the counter.

       Finally, Thompson beat Plaintiff so severely that Plaintiff cannot remember every specific

detail. Defendant‟s Motion for Summary Judgment harps on Plaintiff‟s inability to remember

specific details of the actual beating. However, Defendants should not be rewarded for beating

Plaintiff so badly that he cannot remember. While Plaintiff does not remember every detail,

Plaintiff does remember begging Thompson to stop – “please, no more.” Moreover, Regina

Rhodes testified that Thompson admitted to her that he “stamped” Plaintiff‟s head into the

shower grate. This testimony, coupled with the various accounts of the Defendants as discussed

supra, creates a genuine issue of material fact with respect to Plaintiff‟s beating to preclude

summary judgment on the issue.

       Indeed, even accepting Defendant‟s and Thompson‟s current version of events, which is

specifically in dispute, the context of the altercation did not require multiple closed fist punches

to the head and face of Plaintiff. The Plaintiff is approximately 5 foot 8 inch, 125 lbs., and

Thompson is approximately 6 foot 3 inch 200+lbs. Multiple closed fist punches to the head was

an unnecessary response to an allegedly severely drunk detainee – allegedly so drunk that he

could not sign his consent form for the nurse. See Exhibit “G”. Moreover, Thomas Randazzo,


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the untrained and unofficial bouncer of Choppers (the bar Plaintiff where Plaintiff was arrested),

was able to subdue Plaintiff by holding him with one hand why waiting for the police to arrive.

See Exhibit “H”, Thomas Randazzo deposition, p. 24, Lines 4-15. Multiple closed fist punches

to the head is an excessive response to an allegedly belligerent drunk who allegedly refused to

dress out. While this version is specifically disputed, it still does not relieve Defendants of

liability.

         Genuine issues of material fact exist with respect to Defendant Thompson‟s beating of

Plaintiff. Summary Judgment should be denied.

III.     Plaintiff’s Injuries

         A.     Evidence of Injuries

         The Defendant maintains that Plaintiff “arrived at the jail with the injuries that he was

accusing the HCADC personnel of causing.” However, this statement is belied by the evidence

and testimony in this matter.

         First, Thompson admitted that “I gave him [McBay] a black eye.” See Exhibit “D”, p.

44, Line 20. Thompson admitted that he struck Plaintiff multiple times in the face with closed

fist punches. Id. at p. 15, Lines 12-13; p. 54, Lines 23-25. Thompson further admitted to Regina

Rhodes that Thompson drove the Plaintiff‟s skull into the shower grate creating an “X” on

Plaintiff‟s head. See Exhibit “B”, p. 148, Lines 4-7.

         Second, the use of force report and nurse‟s notes show the injuries sustained by the

Plaintiff. The Use of Force report described “facial swelling and nose bleed as injuries sustained

at Thompson‟s hands. See Exhibit “G”. The report also stated that Plaintiff suffered a cut on the

head, and swollen and bruised left eye. Id. The narrative of the report described that Thompson

called medical after Thompson struck Plaintiff because Plaintiff had “bleeding from the nose and


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facial swelling.” Id. The nurse‟s notes describe the same injuries following the altercation. Id.

While Defendant maintains that these injuries were suffered before entering the jail and the black

eye could have developed the next morning, the actual evidence contradicts this position.

         Moreover, the use of force report was not filled out or drafted by Thompson. See Exhibit

“D”, p. 10, Lines 20-22. Thompson stated Officer Teel filled out the use of force report for this

incident. Id. However, Thompson admitted Teel never actually witnessed the incident. Id. at p.

13 Lines 16-22. Thompson maintains that Teel was in another area of booking and heard the

event.    Id.   Contrary to Thompson‟s assertion, according to Defendant Payne‟s admission

responses, the roster sheet for the night in question, the video evidence, and the Teel‟s time card,

Teel was not present on the night of Plaintiff‟s beating. See Exhibit “I”. Defendants still have

not produced the identity of the person who completed the report.

         Finally, photos of the Plaintiff following the incident demonstrate the injuries he

sustained. See Exhibit “J”. The facial swelling and black eyes show the extent of the beating

from Thompson. The “stamp” from the shower grate which Thompson admitted to creating is

clearly shown on the side of Plaintiff‟s head. When shown the booking photo of Plaintiff at his

deposition, Thompson stated that Plaintiff did not “look like that when I [he] left” his shift later

that evening. p. 9, Lines 10-18. However, the use of force report and nurse‟s note clearly denote

the bruising and swelling of the eyes, and indeed, Thompson later admitted in his deposition that

he gave him the black eye. These contradictions and accounts of the injuries create enough

genuine issues of material fact which preclude summary judgment on this issue.

         B.     Injuries More Than De Minimus

         With respect to the excessive force claim, the Defendant‟s motion for summary judgment

asserts that Plaintiff cannot establish that he suffered no more than a de minimis injury.


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       In Hudson v. McMillian, 503 U.S. 1, 112 S.Ct. 995, 117 L.Ed.2d 156 (1992), the Supreme

Court held that a correctional officer‟s use of excessive physical force against a prisoner may in

an appropriate setting constitute cruel and unusual punishment of the prisoner, contrary to the

Eighth Amendment, even though the prisoner does not suffer either “significant injury” or

“serious injury.” Id. 112 S.Ct. at 997 (“serious injury”), 998 (“significant injury”), 999 (“serious

injury”), 1000 (“significant injury”). Likewise, Hudson clearly implies that merely because the

injury suffered is only “„minor‟” does not of itself always preclude finding an excessive force

violation. Id. at 1000. Hudson, looked largely to “whether force was applied in a good-faith

effort to maintain or restore discipline, or maliciously and sadistically to cause harm.” Id. 112

S.Ct. at 999. For purposes of this inquiry, Hudson placed primary emphasis on the degree of

force employed in relation to the apparent need for it, as distinguished from the extent of injury

suffered. Id.

       A showing of some type of injury, more than de minimus, is necessary to assert an

excessive force claim. Williams v. Bramer, 180 F.3d 699, 703 (5th Cir. 1999). In order to

determine whether injuries caused by excessive force are de minimus, the context in which the

force was used must be examined. Id. (emphasis added). “[T]he amount of injury necessary to

satisfy our requirement of „some injury‟ and establish a constitutional violation is directly related

to the amount of force that is constitutionally permissible under the circumstances.‟”” Id. at 703-

04 quoting Ikerd v. Blair, 101 F.3d 430, 434 (5th Cir. 1996)).

       In Gomez v. Chandler, 163 F.3d 921 (5th Cir. 1999), in concluding that a prisoner‟s

injury was not de minimis, the Court stated that the “application of force” was “of a character far

[more] intense and [more] calculated to produce real physical harm,” Gomez, 163 F.3d at 924.

The focus was on the application of force under the context, not the extent of the physical injury


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suffered.

       As the Fifth Circuit stated in Beck v. Alford, 1994 WL 442383 at *1 (5th Cir. July 27,

1994), when “there are allegations of injury together with circumstances that suggest that more

than de minimis injury could have occurred, or that the use of whatever force there was would

shock the conscience, the stage is set for a credibility contest, and the case should go to a finder

of fact.” (emphasis added). It is clear that the law in Fifth Circuit focuses on the application of

force, the context the force was used, and the injury that could have happened, not what injury

actually did occur.

       In the instant matter, it is clear Plaintiff suffered significant facial bruising and swelling,

contusions to his head and neck, and Plaintiff suffered a concussion resulting in damage to his

cognitive functions which has prevented Plaintiff from returning to his profession. See Exhibit

“K”, Dr. Stephen Martin report. Dr. Stephen Martin has diagnosed Plaintiff with post traumatic

stress syndrome resulting from the savage beating by Thompson. Dr. Martin has further found

that the PTSD and frontal lobe dysfunction is the result of the beating and concussion sustained

at the hands of Thompson. Plaintiff cannot return to work as an independent insurance adjuster

because of the permanent cognitive and emotional/behavioral effects from the injuries sustained.

Indeed, Defendants‟ own expert, Dr. Ciota, while disagreeing with the neurocognitive analysis of

Dr. Martin, has observed that Plaintiff has been damaged from a psychological perspective,

inclusive of taking on a dependent role as a result of his injuries sustained at the hand of

Thompson.     Dr. Ciota also commented that, while it happens in a minority of cases, the

posttraumatic stress symptoms and psychological problems exhibited by Plaintiff can occur from

the result of the injuries sustained. The injuries clearly meet the threshold of more than de

minimus.


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       In the instant matter, genuine issues of material fact exist regarding the need and amount

of force used by the correctional officer; therefore, the Plaintiff‟s injuries cannot be determined

to be de minimus simply by evaluating the physical nature of the injury. See Hull v. Ford, 2007

WL 1839843 (5th Cir. June 25, 2007).

IV.    Custom and Practice – Knowledge

       A.       Applicable Law

       Municipalities and counties can be held liable for Section 1983 claims for deprivation of

civil rights.   A plaintiff is required to demonstrate the following three elements: (1) a

policymaker; (2) an official policy; and (3) a violation of constitutional rights whose “moving

force” is the custom or policy. Piotrowski v. City of Houston, 237 F.3d 567, 578 (5th Cir. 2001).

A policy may be evidenced by custom that is “a persistent, widespread practice of City [County]

official or employees, which, although not officially adopted and promulgated policy, is so

common and well-settled as to constitute a custom that fairly represents municipal policy…” Id.

at 579 quoting Webster v. City of Houston, 735 F.2d 838, 842 (5th Cir. 1984).

       A plaintiff must demonstrate that the municipality was “deliberately indifferent” to the

known consequences of the policy. Id. at 580. Deliberate indifference is an objective standard

that encompasses “not only what the policymaker actually knew but what he should have known,

given the facts and circumstances surrounding the official policy and its impact on the plaintiff‟s

rights.” Lawson v. Dallas County, 286 F.3d 257, 264 (5th Cir. 2002). Plaintiff must demonstrate

that the policymaker had actual or constructive knowledge of the actions of his subordinates.

Webster, 735 F.2d at 842. “Constructive knowledge may be attributed to the governing body on

the ground that it would have known of the violations if it had properly exercised its

responsibilities, as for example, where the violations are so widespread that they were the subject


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of prlonged public discussion or of a high degree of publicity.” Id. The sheer numerosity of

incidents can provide evidence of constructive knowledge. Pineda v. City of Houston, 291 F.3d

325, 330 (5th Cir. 2002).

       B.      Application of Law to Facts

       In the case at bar, it is undisputed that Sheriff Payne was the policymaker for the relevant

time frame. As to an official policy being adopted, Plaintiff has alleged that a persistent,

widespread practice existed at the jail whereby booking officers/ jailers abused, tortured,

intimidated, and harassed pretrial detainees/inmates. Moreover, Plaintiff alleges that Sheriff

George Payne, in his official capacity, and the Harrison County Board of Supervisors had actual

knowledge of the violence at the jail, and in the alternative, that Sheriff George Payne, in his

official capacity, and the Harrison County Board of Supervisors had constructive knowledge of

the violence at the jail. In support of these allegations, Plaintiff relies on the following pieces of

evidence.

               1.      Plea Agreements

       Former correctional officers have signed plea agreements and entered guilty pleas for

violations of prisoners/pre-trial detainees civil rights. See Exhibit “L”. In the plea agreements,

Regina Rhodes, Morgan Thompson, Daniel Evans, Karl Stolze, Thomas Wills, Dedri Caldwell,

and William Jeffery Priest each admitted to assaulting and witnessing assaults of inmates at the

detention center.    Thompson and Caldwell admitted that they each participated in over 100

assaults against inmates between May 17, 2004 and August 28, 2006. Evans admitted that he

had participated in several assaults against inmates and witnessed numerous assaults of inmates

by other officers. Stolze admitted that he participated in several assaults against inmates and that

he and his co-conspirators “engaged in a pattern of conduct that included, but was not limited to .


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. . assaulting inmates, knowing that the physical force was unnecessary, unreasonable, and

unjustified.”    William Jeffery Priest also admitted that he committed numerous assaults on

inmates. The conduct described in the plea agreements includes punching, kicking, and choking

inmates. These officers also admitted that they submitted false and misleading reports regarding

their misconduct.

       This practice of abuse and violence was so widespread and over such a period of time that

Sheriff George Payne, in his official capacity, and the Harrison County Board of Supervisors had

either actual or constructive knowledge of the activities.

                 2.    Steve Martin Report

       Steve Martin investigated the HCADC on behalf of the Department of Justice. Martin

submitted a report, dated February 1, 2005, wherein he stated that there was a “very disturbing

pattern of misuse of force” at the HCADC. See Exhibit “M”, Martin report. Martin also found a

“lack of appropriate review of incidents” and “the failure to properly investigate the incidents.”

Id. This report was sent to both the Sheriff and Harrison County Board of Supervisors. See

Exhibit “N”, Letter dated July 20, 2005.

       Sheriff George Payne admitted receiving Martin‟s report. During his deposition, Sheriff

Payne stated that he assigned Major Riley and Steve Campbell, of the Professional Standards

Unit, to investigate the claims in the report. See Exhibit “O”, p. 24, Lines 1-13. However,

during the deposition of 30(b)(6) designee Steve Campbell, Campbell stated that he was never

requested by Sheriff Payne to investigate these claims contained in Martin‟s report. Exhibit “P”,

p. 54, Lines 9-15. Indeed, when asked about Steve Martin, Campbell stated, “[W]ell, what I got

from him was inmates never do anything wrong, correction officers always screw up.” Id. at p.

52, Lines 5-7.


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       Now, Sheriff Payne has submitted an affidavit wherein he states that once he received

Martin‟s report, he forwarded it to the Federal Bureau of Investigation; however, Sheriff Payne

never mentioned this during his deposition and no record has been produced showing the report

was forwarded to the FBI. It is clear that there are conflicting accounts as to whether the Sheriff

took this report seriously. Sheriff Payne stated that he requested Campbell to investigate, but

Campbell denies this occurred. Sheriff Payne did not mention the FBI with respect to the report

during the deposition, but in support of the summary judgment motion, he now mentions

involves the FBI. Clearly, the prison officials such as Campbell did not think too highly of

Martin, and did not take his report seriously.

       Martin‟s report provides official notice to both the Sheriff and Board of Supervisors

about the escalating violence at the jail. However, as is evident in the plea agreements with

respect to the time frame of abuse (2004-2006), the officials in charge did nothing to discourage

such violence despite being on notice that it was occurring.

               3.      Deposition of Sheriff Payne, in his official capacity

       During his deposition, Sheriff Payne was asked the following question and responded in

the following way:

               Q:      Do you believe that this is a – this problem in these
                       plea exhibits is a problem you should have known
                       about?

               A:      Yeah. I don‟t know if it was possible for me to know
                       about it, but I wish I‟d have known about it. (emphasis
                       added).

See Exhibit “O”, 30(b)(6) deposition of Defendant, Payne testimony, p. 51, Lines 11-16

(emphasis added). During his deposition, Sheriff Payne‟s answer was “Yeah”, but then he

paused for a few seconds, and provided a qualifier. But his admission that he “Yeah” probably


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should have known creates a genuine issue of material fact to preclude summary judgment on the

issue that Sheriff Payne had either actual or constructive knowledge of the violence at the jail.

       Finally, during his deposition, Sheriff Payne acknowledged that he spoke with Harrison

County Board of Supervisor member William Martin about Martin‟s report and violence at the

jail. This is confirmed by William Martin who testified that he had spoken with Sheriff Payne

regarding the violence at the jail over a number of years. See Exhibit “Q”, William Martin

deposition, p. 22. When William Martin was asked to explain his concerns about violence at the

jail, he testified that the Board periodically received complaints from inmates that they were

being beaten. Id. Martin testified that Payne replied that they were working on the problem. Id.

Finally, board member Bobby Eleuterius also testified that remembered receiving Steve Martin‟s

report, but does not remember anything being done about it. See Exhibit “R”, Eleuterious

deposition, p. 44-45, Lines 16-5.

       As is evident by the sworn testimony of Sheriff Payne and certain Board members, it is

clear that both Sheriff Payne and the Board of Supervisors had either actual or constructive

knowledge of the problem of violence at the HCADC.

               4.      Regina Rhodes Deposition

       Regina Rhodes testified that the practice of abuse of inmates “was almost daily” while

she was employed at HCADC from 2004 to 2006. Exhibit “B”, p. 14, Lines 3-9. Rhodes

described the pattern of abuse that she personally observed while she worked in booking at the

HCADC. Rhodes described practices such as: red light/green light (i.e. abusing detainees in

areas that would not be visible); targeting and taunting of persons who had been brought in on

drinking charges or were drunk; falsifying reports; encouragement to falsify reports; special

names for days of the week; and beating, kicking and otherwise abusing inmates. Id. pp. 9-18.


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         This abuse and violence was so widespread and over such a period of time that Sheriff

George Payne, in his official capacity, and the Harrison County Board of Supervisors had either

actual or constructive knowledge of the activities.

                5.      Teel Trial Testimony

         The correctional officers testified that they frequently referred to an unofficial policy of

“red light, green light,” which meant that officers should only strike inmates in areas that would

be concealed by the jumpsuit worn by prisoners. See Exhibit “S”, Priest testimony, p. 424, Lines

11-16. The face and head would therefore be considered a “red light,” while the chest would be

considered a “green light.” The officers also testified regarding ways in which they would “fool”

the surveillance cameras in booking to make it appear that inmates were resisting when in fact

they were not. Id. at p. 408. They also testified that they would yell “stop resisting” to make

others believe their violence against inmates was in response to resistance by the inmates. Id. at

p. 435. The officers also had special names for the days of the week, such as “Thump a Thug

Thursday.” See Exhibit “T”, Moore testimony, p. 556.          The officers felt that the unnecessary

assaults were funny and humorous. See Exhibits “S” and “T”. Defendant Thompson testified

that he felt like he lost touch with humanity and forgot that these inmates were human beings,

and he confirmed this belief in his deposition testimony in this matter. Exhibit “D”, p. 44, Lines

10-18.

         This abuse and violence was so widespread and over such a period of time that Sheriff

George Payne, in his official capacity, and the Harrison County Board of Supervisors had either

actual or constructive knowledge of the activities.

                6.      Alves v. Harrison County, et al., Order dated Feb. 23, 2009

         This District Court found the following with respect to a custom of abuse of inmates at


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the jail during the relevant time frame and the knowledge of the Sheriff and Board of

Supervisors:

           sufficient evidence from which a jury could conclude that the custom of
           abuse of inmates at the jail was sufficiently widespread to constitute an
           official policy. The Court further finds that the evidence that hundreds
           of unjustified assaults were committed against inmates between 2004
           and 2006 tends to show that Sheriff Payne either knew or should have
           known of the violence. Specifically, even members of the Harrison
           County Board of Supervisors, who were farther removed from the jail
           than the Sheriff, were aware of the culture of violence and inmate abuse
           at the jail. Finally, the evidence of this custom of abuse at the jail is
           indicative of deliberate indifference. As a result, the Court finds that a
           genuine issue of material fact exists regarding whether the custom of
           inmate abuse at the jail was sufficiently widespread so as to constitute
           an official policy of which the Sheriff had actual or constructive
           knowledge.


        Accordingly, Defendant‟s assertion that there are not genuine issues of material fact with

respect to the custom and practice of abuse and the relevant knowledge thereof is incorrect.

V.      Moving Force

        As discussed supra, the officer involved in the assault on the Plaintiff has been convicted

of numerous similar assaults. Also, there is a significant amount of evidence before the Court

that the officers in the booking area of the jail believed it was humorous to wrongfully assault

inmates (i.e. taunting, teasing, naming days of the week, etc.). Accordingly, for all of the reasons

cited above, there are genuine issues of material fact with respect to whether the custom of

inmate abuse was a moving force behind the assault of the Plaintiff.

VI.     Conspiracy

        Using the evidence that is discussed at length supra, there are genuine issues of material

fact with respect to whether a custom of which Sheriff Payne had constructive, or actual,

knowledge caused the development of a conspiracy to assault inmates that was a moving force


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behind the violation of Plaintiff‟s constitutional rights.

       In summary, there are numerous genuine issues of material fact which preclude summary

judgment in this matter. Accordingly, the Court should deny Defendant‟s Motion for Summary

Judgment.

                                               RESPECTFULLY SUBMITTED

                                               GARY BRICE MCBAY, Plaintiff

                                               BY:     BROWN BUCHANAN, P.A.



                                               BY:     /s/Patrick R. Buchanan________________
                                                       PATRICK R. BUCHANAN
                                                       MARK V. WATTS




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                                CERTIFICATE OF SERVICE

       I, the undersigned, do hereby certify that I have this day mailed by United States mail,

postage prepaid, a true and correct copy of the foregoing pleading to the following counsel:


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       This, the 14th day of December, 2009.


                                             /s/ Patrick R. Buchanan_________________
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